Case 6:19-cv-00978-CEM-LRH Document 25 Filed 06/19/19 Page 1 of 4 PageID 163




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
DATA PROTECTION SERVICES, LLC,

                       Plaintiff,

v.                                                             Case No: 6:19-cv-978-Orl-41LRH

TEFINCOM S.A. and COLLECTIVE 7,
INC.,

                  Defendants.
___________________________________/

                               INTERESTED PERSONS ORDER
                                DIRECTED TO DEFENDANT(S)

       This Court makes an active effort to screen every case in order to identify parties and

interested corporations in which any assigned judge may be a shareholder, as well as for other

matters that might require consideration of recusal. It is therefore

       ORDERED that by July 3, 2019, DEFENDANTS TEFINCOM S.A. and

COLLECTIVE 7, INC. shall file and serve a Certificate of Interested Persons and

Corporate Disclosure Statement in the following form:
Case 6:19-cv-00978-CEM-LRH Document 25 Filed 06/19/19 Page 2 of 4 PageID 164




                                 CERTIFICATE OF INTERESTED PERSONS
                                AND CORPORATE DISCLOSURE STATEMENT


          I hereby disclose the following pursuant to this Court’s interested persons order:

 1.)    the name of each person, attorney, association of persons, firm, law firm, partnership,
 and corporation that has or may have an interest in the outcome of this action — including
 subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that own
 10% or more of a party’s stock, and all other identifiable legal entities related to any party in the
 case:

          [insert list]

 2.)    the name of every other entity whose publicly-traded stock, equity, or debt may be
 substantially affected by the outcome of the proceedings:


          [insert list]

 3.)    the name of every other entity which is likely to be an active participant in the
 proceedings, including the debtor and members of the creditors’ committee (or twenty largest
 unsecured creditors) in bankruptcy cases:

          [insert list]

 4.)    the name of each victim (individual or corporate) of civil and criminal conduct alleged
 to be wrongful, including every person who may be entitled to restitution:


          [insert list]

         I hereby certify that, except as disclosed above, I am unaware of any actual or potential
 conflict of interest involving the district judge and magistrate judge assigned to this case, and
 will immediately notify the Court in writing on learning of any such conflict.


 [Date]                                                 _____________________________
                                                        [Counsel of Record or Pro Se Party]
                                                             [Address and Telephone]
 [Certificate of Service]




                                                 -2-
Case 6:19-cv-00978-CEM-LRH Document 25 Filed 06/19/19 Page 3 of 4 PageID 165



       It is FURTHER ORDERED that no party may seek discovery from any source before

filing and serving a CERTIFICATE       OF   INTERESTED PERSONS      AND   CORPORATE DISCLOSURE

STATEMENT. A motion, memorandum, response, or other paper — including emergency motion

—    may be denied or stricken unless the filing party has previously filed and served its

CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT.

       FURTHER ORDERED that each party has a continuing obligation to file and serve an

amended CERTIFICATE OF INTERESTED PERSONS AND CORPORATE DISCLOSURE STATEMENT within

fourteen days of 1) discovering any ground for amendment, including notice of case reassignment

to a different judicial officer; or 2) discovering any ground for recusal or disqualification of a

judicial officer. A party should not routinely list an assigned district judge or magistrate judge as

an “interested person” absent some non-judicial interest.

       FURTHER ORDERED that, in order to assist the Court in determining when a conflict

of interest may exist, particularly when ruling on matters formally assigned to another judge, each




                                                -3-
Case 6:19-cv-00978-CEM-LRH Document 25 Filed 06/19/19 Page 4 of 4 PageID 166



party shall use the full caption of the case — including the names of all parties and intervenors —

on all motions, memoranda, papers, and proposed orders submitted to the Clerk. See Fed.R.Civ.P.

10(a); Local Rule 1.05(b) (“et al.” discouraged).

         ROY B. DALTON, JR.                                      PAUL G. BYRON
          Roy B. Dalton, Jr. [37]                                Paul G. Byron [40]
        United States District Judge                         United States District Judge

         CARLOS E. MENDOZA
          Carlos E. Mendoza [41]
        United States District Judge

          G. KENDALL SHARP                                    PATRICIA C. FAWSETT
           G. Kendall Sharp [18]                               Patricia C. Fawsett [19]
     Senior United States District Judge                  Senior United States District Judge

        GREGORY A. PRESNELL                                      JOHN ANTOON II
          Gregory A. Presnell [31]                               John Antoon II [28]
     Senior United States District Judge                  Senior United States District Judge

           ANNE C. CONWAY
           Anne C. Conway [22]
     Senior United States District Judge

          LESLIE R. HOFFMAN                                    GREGORY J. KELLY
         Leslie R. Hoffman [LRH]                               Gregory J. Kelly [GJK]
       United States Magistrate Judge                       United States Magistrate Judge

           THOMAS B. SMITH                                       DANIEL C. IRICK
         Thomas B. Smith [TBS]                                  Daniel C. Irick [DCI]
       United States Magistrate Judge                       United States Magistrate Judge

            DAVID A. BAKER
          David A. Baker [DAB]
       United States Magistrate Judge


June 19, 2019

Copies to:      All Counsel of Record
                All Pro Se Parties




                                               -4-
